        Case 2:14-cv-00308-WCO Document 7 Filed 03/24/15 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION


PHILIP SEARS
                   Plaintiff,
                                             Case No. 2:14-cv-00308-WCO-JCF
v.

AMERICAN CORADIUS
INTERNATIONAL LLC

                   Defendant.
                                             /



                                NOTICE OF DISMISSAL


The plaintiff through his attorney Bernard T. Kennedy stipulates that the claims in

the above-entitled action shall be dismissed with prejudice and without costs,

subject to approval of the Court.

                                             THE PLAINTIFF

                                             BY/S/Bernard T. Kennedy
                                              Bernard T. Kennedy, Esquire
                                              The Kennedy Law Firm
                                              34 Roger Street, Suite A
                                              Blairsville, GA 30512
                                              (706) 400- 2650
                                              (443) 440-6372 Fax
                                              bernardtkennedy@yahoo.com

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        Case 2:14-cv-00308-WCO Document 7 Filed 03/24/15 Page 2 of 2




                    Consented to by: /s/ Wendi E. Fassbender
                                       Wendi E. Fassbender, Esq.
                                       GA Bar No. 179133
                                       Sessions, Fishman, Nathan & Israel, L.L.C.
                                       14 Coopers Glen Drive, SW
                                       Mableton, GA 30126-2584
                                       Telephone: (678) 209-7492
                                       Facsimile: (877) 480-5639
                                       E-mail: wfassbender@sessions-law.biz
                                       Attorneys for Defendant,
                                       American Coradius International LLC




                                  CERTIFICATION

I hereby certify that on 3/24/2015 a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on
the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.

I additionally certify that the above-referenced document has been prepared in
Times New Roman (14 point) font and this satisfies the font size requirements of
this Court.




                                 BY/S/Bernard T. Kennedy



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